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                                                    1 Kevin I. Shenkman, SBN 223315
                                                      Mary Ruth Hughes, SBN 222662
                                                    2 Andrea Alarcon, SBN 319536
                                                      SHENKMAN & HUGHES, PC
                                                    3 28905 Wight Road
                                                      Malibu, California 92605
                                                    4 Phone: (310) 457-070

                                                    5 Attorneys for MIDWEST BUSINESS CAPITAL, a
                                                      division of UNITED MIDWEST SAVINGS BANK
                                                    6

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                                                    8
                                                                              UNITED STATES BANKRUPTCY COURT
                                                    9
                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                   10
                                                                                      LOS ANGELES DIVISION
                                                   11
SHENKMAN & HUGHES, PC




                                                   12
                                                        In re                                     Case No. 2:18-bk-10458-BR
                        Malibu, California 92605




                                                   13
                         Phone (310) 457-090
                          28905 Wight Road




                                                                                                  Chapter 7
                                                   14 SONYA MARIE THERIAULT,
                                                                                                  NOTICE OF MOTION AND MOTION TO
                                                   15                                             VACATE OR MODIFY DISCHARGE
                                                                   Debtor.                        ORDER, AND/OR RE-OPEN CASE AND
                                                   16                                             VACATE DISMISSAL ORDER;
                                                   17                                             DECLARATION OF KEVIN I.
                                                                                                  SHENKMAN
                                                   18

                                                   19                                             Hearing
                                                                                                  Hearing Date:      TBD
                                                   20                                             Hearing Time:      TBD
                                                                                                  Courtroom:         1668
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                                                                            MOTION TO VACATE OR MODIFY DISCHARGE ORDER
                                                                           AND/OR RE-OPEN CASE AND VACATE DISMISSAL ORDER
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                                                    1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE;

                                                    2 AND OTHER INTERESTED PARTIES:

                                                    3          PLEASE TAKE NOTICE that on ________ at ______ or as soon thereafter as the matter

                                                    4 may be heard in Courtroom 1668 of the above-entitled court located at 255 East Temple Street,

                                                    5 Suite 1660, Los Angeles 90012 movant Midwest Business Capital, a division of United Midwest

                                                    6 Savings Bank (“MBC” or “Movant”), will move this Court for an order to vacate or modify the

                                                    7 order of discharge [Docket No. 23] as to MBC. To the extent necessary, MBC will also move this

                                                    8 court for an order re-opening the bankruptcy case and vacating any dismissal orders. This motion

                                                    9 is made pursuant to 11 U.S.C. § 105 on the grounds that debtor Sonya Marie Theriault

                                                   10 (“Theriault”) filed her bankruptcy petition in bad faith and with the sole intention to frustrate

                                                   11 MBC’s effort to obtain the collateral in which it has a security interest.
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                                                   12          This motion is based upon this notice, the memorandum of points and authorities in
                        Malibu, California 92605




                                                   13 support of the motion, the Motion for Relief from the Automatic Stay (which has been filed
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 concurrently with this notice, and which has been incorporated by reference), all moving papers,

                                                   15 the court file of which judicial notice is requested, and such other oral or documentary evidence as

                                                   16 may be presented at or before the time of hearing of this motion.

                                                   17

                                                   18 DATED: May 8, 2018                           SHENKAN & HUGHES, PC
                                                   19

                                                   20
                                                                                                   By:      /s/ Kevin I. Shenkman
                                                   21                                                            KEVIN I. SHENKMAN
                                                                                                   Attorneys for MIDWEST BUSINESS CAPITAL, a
                                                   22                                              division of UNITED MIDWEST SAVINGS BANK

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                                                                               MOTION TO VACATE OR MODIFY DISCHARGE ORDER
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                                                    1                          MEMORANDUM OF POINTS AND AUTHORITIES

                                                    2 I.          INTRODUCTION AND FACTUAL BACKGROUND

                                                    3             By this motion, movant Midwest Business Capital, a division of United Midwest Savings

                                                    4 Bank (“MBC” or “Movant”) requests that this Court enter an order modifying the order of

                                                    5 discharge (the “Discharge Order”) [Docket No. 23], which was entered through the court’s

                                                    6 “automatic discharge” program. MBC respectfully submits that the circumstances of this case do

                                                    7 not lend themselves to the type of mechanical application the program was meant to address.

                                                    8             As explained more fully in MBC’s concurrently filed motions for relief from stay1, MBC is

                                                    9 a secured creditor with a perfected security interest in certain inventory, equipment, tangible

                                                   10 property, and the proceeds thereof (collectively, the “Collateral”). Debtors Sonya Marie Theriault

                                                   11 (“Theriault”) and ST Designs LLC (“ST Designs”) have taken wrongful possession of the
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                                                   12 Collateral and have used the bankruptcy process to hinder MBC’s attempts to reclaim it.
                        Malibu, California 92605




                                                   13 Previously, MBC obtained a joint and several judgment from the Circuit Court of the Ninth
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 Judicial Circuit in and for Orange County, Florida against Castle Design Interiors, Inc., Susan

                                                   15 Martinez (Theriault’s mother), and Jared Martinez. As a result, MBC was, and is now, entitled to

                                                   16 satisfy its judgment by taking possession of its Collateral.

                                                   17             In order to hide the Collateral from MBC, Ms. Martinez and her daughter, Theriault,

                                                   18 caused the Collateral to be loaded into trucks and transported to a warehouse in Los Angeles in

                                                   19 approximately April 2011. In or about, August 2016, MBC filed an Application for Entry of

                                                   20 Judgment on Sister State Judgment in the Superior Court for the County of Los Angeles. On

                                                   21 August 8, 2016, the Court issued a California judgment in the amount of $2,300,184.13 against

                                                   22 Castle and Mr. and Ms. Martinez (the “California Judgment”).

                                                   23             On November 14, 2016, MBC filed suit against both debtors in Midwest Business Capital

                                                   24 v. Theriault, et al. pending in Los Angeles Superior Court (the “State Action”), which is a

                                                   25

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                                                   27
                                                        1
                                                   28       The entirety of the Motion for Relief from stay is incorporated by this reference.
                                                                                                             1
                                                                                  MOTION TO VACATE OR MODIFY DISCHARGE ORDER
                                                                                 AND/OR RE-OPEN CASE AND VACATE DISMISSAL ORDER
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                                                    1 prerequisite to seeking a writ of possession for the Collateral. The trial of the State Action had

                                                    2 been set for May 14, 2018.

                                                    3          Theriault filed a chapter 7 petition to commence her bankruptcy case on January 16, 2018,

                                                    4 just one day before the hearing on MBC’s application for writ of possession (the “Writ

                                                    5 Application”) in the State Action. Theriault caused ST Designs to file its chapter 7 petition on

                                                    6 March 27, 2018, just two days before the continued hearing on the Writ Application.2 With both

                                                    7 defendants in bankruptcy, MBC, out of an abundance of caution, decided to seek relief from stay

                                                    8 in both cases. However, two debtors in two separate bankruptcy cases, before two separate judges

                                                    9 (and two sets of support staff) would waste substantial judicial resources, create logistical

                                                   10 difficulties, and increase the odds of inconsistent results.

                                                   11          On April 2, 2018, the chapter 7 trustee for Theriault’s bankruptcy case filed a report of no
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                                                   12 distribution. On April 3, 2018, counsel for MBC contacted the chapter 7 trustee to request
                        Malibu, California 92605




                                                   13 additional time to conduct discovery and bring relevant motions in the case. The chapter 7 trustee
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 informed MBC that he would withdraw the report for a period of 60-days to allow MBC to

                                                   15 proceed. The chapter 7 trustee formally withdrew the report later that same day. [Docket

                                                   16 No. 15].

                                                   17          On April 6, 2018, MBC filed its motion to reassign ST Designs’ bankruptcy case (the

                                                   18 “Reassignment Motion”) to this Court. [Docket No. 16] On April 26, 2018, MBC filed a

                                                   19 declaration with the Court to inform it that there was no opposition to the Reassignment Motion.

                                                   20 [Docket No. 20]. Later that day, the courtroom deputy contacted counsel for MBC and informed

                                                   21 MBC that it would need to file an amended motion with a corrected event number, which would

                                                   22 then allow a proposed order to be uploaded. MBC promptly did so. [Docket No. 22].

                                                   23          On April 30, 2018, an order of discharge was entered through the “automatic discharge”

                                                   24 program. On May 1, 2018, counsel for MBC contacted the courtroom deputy to inquire about the

                                                   25

                                                   26   2
                                                        MBC had elected to continue against ST Designs, which had been a non-bankrupt co-defendant.
                                                   27 Ingersoll-Rand Fin. Corp. v. Miller Mining Co., 817 F.2d 1424, 1427 (9th Cir. 1987) (“In the
                                                      absence of special circumstances, stays pursuant to section 362(a) are limited to debtors and do not
                                                   28 include non-bankrupt co-defendants.”)
                                                                                                          2
                                                                               MOTION TO VACATE OR MODIFY DISCHARGE ORDER
                                                                              AND/OR RE-OPEN CASE AND VACATE DISMISSAL ORDER
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                                                    1 timing discharge. MBC explained to the deputy that it was waiting for entry of the transfer order

                                                    2 to file motions for relief from stay as well as other discovery related motions so that court

                                                    3 resources would be preserved. The deputy informed MBC that it would need to file a motion with

                                                    4 the Court to explain the events that had occurred and to wait for a response. The deputy also

                                                    5 informed MBC that the transfer order would likely be entered that day, which it was. [ST Designs,

                                                    6 Docket No. 12].

                                                    7          Thereafter, MBC completed the motions for relief from stay as well as the instant motion.

                                                    8 II.      LEGAL ARGUMENT

                                                    9          A.      THE BANKRUPTCY COURT HAS THE INHERENT AUTHORITY TO

                                                   10                  PREVENT AN ABUSE OF THE BANKRUPTCY PROCESS BY MAKING

                                                   11                  AN ORDER GRANTING RELIEF
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                                                   12          Section § 105(a) of the Bankruptcy Code grants the Bankruptcy Court broad authority to
                        Malibu, California 92605




                                                   13 protect the integrity of its jurisdiction and to prevent abuses of the judicial process and the policies
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 and purposes of the Bankruptcy Code. Section 105(a) states:

                                                   15          The Court may issue any order, process or judgment that is necessary or
                                                               appropriate to carry out the provisions of this title. No provisions of this title
                                                   16          providing for the raising of an issue by a party in interest shall be construed to
                                                               preclude the court from sua sponte, taking any action or making any determination
                                                   17
                                                               necessary or appropriate to enforce or implement court orders or rules, or to prevent
                                                   18          abuse of process.”
                                                        Id.
                                                   19          The inherent power and duty of the bankruptcy judge to protect the bankruptcy system was
                                                   20 discussed by the court in Matter of Nikron, Inc., 27 B.R. 773, 777 (Bankr. E.D. Mich. 1983)

                                                   21 wherein the court concluded that the bankruptcy judge had the authority to dismiss a Chapter 11

                                                   22 case on his motion in appropriate circumstances.

                                                   23          Further, 28 USC. § 1334(e) gives the court exclusive jurisdiction of all the property of the
                                                   24 estate: “The district court in which a case under Title 11 is commenced or is pending shall have

                                                   25 exclusive jurisdiction … of all the property, wherever located, of the debtor as of the

                                                   26 commencement of such case, and of property of the estate.” The court therefore has the power to

                                                   27 issue any order respecting the property that may affect the Debtor and any individual to who he

                                                   28
                                                                                                           3
                                                                               MOTION TO VACATE OR MODIFY DISCHARGE ORDER
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                                                    1 may subsequently transfer the property. Regulating subsequent “strawman” bankruptcies is within

                                                    2 the Court’s power. In re Wong, 30 B.R. 87, 89 (Bankr. C.D. Cal. 1983).

                                                    3          Moreover, although there is a general rule, under section 349(b), that the closing or

                                                    4 dismissal of a bankruptcy case automatically deprives the bankruptcy court of jurisdiction over

                                                    5 related proceedings, controlling authority in this Circuit has held that the bankruptcy court may

                                                    6 exercise its discretion to retain jurisdiction over adversary proceedings even after the underlying

                                                    7 case is dismissed. In re Carraher, 971 F.2d 327 (9th Cir. 1992). The Court in Carraher as well as

                                                    8 its progeny has held that the bankruptcy court may exercise jurisdiction over related proceedings

                                                    9 with due discretion given to judicial economy, the convenience of parties, fairness and comity. Id.

                                                   10 at 328. Furthermore, the Bankruptcy Appellate Panel for the Ninth Circuit held this Court has

                                                   11 jurisdiction to make a ruling on a motion to annul stay following the dismissal of a bankruptcy
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                                                   12 petition. In re Aheong, 276 B.R. 233, 252 (9th Cir. BAP 2002). Here, all of the requisite factors
                        Malibu, California 92605




                                                   13 are present to authorize this Court to retain jurisdiction and grant the requested relief.
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                          28905 Wight Road




                                                   14          B.      THE BANKRUPTCY COURT HAS THE INHERENT AUTHORITY TO

                                                   15                  CORRECT ADMINISTRATIVE ERRORS

                                                   16          “A case may be re-opened in the court in which such case was closed to administer assets,

                                                   17 to accord relief to the debtor, or for other cause.” 11 U.S.C. § 350(b). Courts generally consider

                                                   18 the following factors when evaluating whether to re-open a case: “(1) the length of time that the

                                                   19 case has been closed; (2) whether the [movant] would be entitled to relief if the case were re-

                                                   20 opened; and (3) the availability of nonbankruptcy courts, such as state courts, to entertain the

                                                   21 claims.” Redmond v. Fifth Third Bank, 624 F.3d 793, 798 (7th Cir. 2010) (citing In re Antonious,

                                                   22 373 B.R. 400, 405–06 (Bankr. E.D. Pa. 2007)). A bankruptcy court may also re-open a closed

                                                   23 bankruptcy case to correct errors, respond to unanticipated events, or enforce the plan and

                                                   24 discharge. In re Zurn, 290 F.3d 861, 864 (7th Cir. 2002) (citations omitted).

                                                   25          Each of the above factors is met here. The timeline set forth above can be measured in

                                                   26 days. Further, the timing of the filings was motivated by a desire to reduce the burden on judicial

                                                   27 resources by placing both cases before one judge (and one set of supporting staff). MBC is clearly

                                                   28 entitled to relief in this case as the issues underlying the State Action, the debtor’s bad faith and
                                                                                                           4
                                                                               MOTION TO VACATE OR MODIFY DISCHARGE ORDER
                                                                              AND/OR RE-OPEN CASE AND VACATE DISMISSAL ORDER
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                                                    1 fraud (through, among other things, falsely listing MBC as an unsecured creditor even though she

                                                    2 knew MBC had a perfected security interest in the Collateral), and the damage that the debtor has

                                                    3 caused MBC through her actions.

                                                    4           Furthermore, the automated process does not appear to have acknowledged the fact that the

                                                    5 chapter 7 trustee formally withdrew his report of no distribution for a period of 60-days so that

                                                    6 MBC could investigate and potentially recover additional assets for the bankruptcy estate that

                                                    7 could be distributed to all creditors. Even now, there is no final report in this case. Nor has there

                                                    8 been any opportunity for the U.S. Trustee or other parties in interest to review that report.

                                                    9           Ultimately, the decision to re-open a bankruptcy case is based on the court’s equitable

                                                   10 powers. In exercising those powers, a bankruptcy court should avoid overly “technical

                                                   11 considerations that will prevent substantial justice.” In re Shondel, 950 F.2d 1301, 1304 (7th Cir.
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                                                   12 1991). MBC respectfully submits that substantial justice requires granting the relief requested
                        Malibu, California 92605




                                                   13 herein.
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                          28905 Wight Road




                                                   14           C.     The Bankruptcy Case was Filed in Bad Faith

                                                   15           A review of the debtor’s schedules, the timing of the filing, and the near complete lack of

                                                   16 third party creditors provide substantial evidence that the bankruptcy case was filed in bad faith.

                                                   17 The Chapter 7 petitions were filed just one day prior to the hearing on MBCs application for writ

                                                   18 of possession (in the case of Theriault) and two days prior to the continued hearing on the same

                                                   19 matter (in the case of ST Designs). Based on the foregoing, the bankruptcy filings were

                                                   20 specifically made to delay, hinder and interfere with the prosecution of the State Action.

                                                   21           Courts have routinely found bad faith under circumstances similar to those here. See, e.g.,

                                                   22 In re Kissinger, 72 F.3d 107, 109 (9th Cir. 1995) (finding bad faith where a debtor filed for

                                                   23 bankruptcy immediately before state trial was to go to jury). Courts have made similar findings in

                                                   24 the Chapter 13 context. For example, in In re Chinichian, 784 F.2d 1440 (9th Cir. 1986), the Ninth

                                                   25 Circuit held that a relevant consideration with respect to whether a Chapter 13 case has been filed

                                                   26 in bad faith is “whether ‘the debtor only intended to defeat state court litigation.’” Id. at

                                                   27 1445−1446.

                                                   28
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                                                    1          In addition, one element of the bad faith nature of Theriault’s a bankruptcy filing is her

                                                    2 apparent desire to forum shop and take the State Action away from the State Judge. In In re

                                                    3 Silberkraus, 253 B.R. 890 (Bankr. C.D. Cal. 2000), this Court held that “it constitutes bad faith to

                                                    4 file bankruptcy to impede, delay, forum shop, or obtain a tactical advantage regarding litigation

                                                    5 ongoing in non-bankruptcy forum — whether that non-bankruptcy forum is a state court or a

                                                    6 federal district court.” Id. at 905. See also, In re Bluebird Ltd. Partnership, 41 B.R. 540, 543

                                                    7 (Bankr. C.D. Cal 1984) (intent to cause hardship or delay is an abuse). Each of those elements is

                                                    8 present here.

                                                    9 III.     CONCLUSION

                                                   10          Based upon the foregoing, this Court has authority to vacate or modify the order of

                                                   11 discharge as to MBC or, to the extent necessary, re-open the bankruptcy case and vacate any
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                                                   12 applicable dismissal orders. MBC respectfully requests that the court enter an order granting the
                        Malibu, California 92605




                                                   13 requested relief, or such other relief as the court deems appropriate to effect substantial justice in
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 this case.

                                                   15

                                                   16 DATED: May 8, 2018                           SHENKAN & HUGHES, PC
                                                   17

                                                   18
                                                                                                   By:      /s/ Kevin I. Shenkman
                                                   19                                                            KEVIN I. SHENKMAN
                                                                                                   Attorneys for MIDWEST BUSINESS CAPITAL, a
                                                   20                                              division of UNITED MIDWEST SAVINGS BANK

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                                                    1                            DECLARATION OF KEVIN I. SHENKMAN

                                                    2

                                                    3 I, Kevin I. Shenkman, declare as follows:

                                                    4          1.      I am an attorney at law duly admitted to practice before all the courts of the State of

                                                    5 California and am the attorney of record for movant Midwest Business Capital, a division of

                                                    6 United Midwest Savings Bank (“MBC”). I submit this Declaration in support of MBC’s Motions

                                                    7 for Relief from Stay (“Motion” or “Motions”). I have personal knowledge of the facts and

                                                    8 circumstances set forth below, and, if called upon as a witness to testify thereto, I could and would

                                                    9 competently testify thereto.

                                                   10          2.      In or about, August 2016, MBC filed an Application for Entry of Judgment on

                                                   11 Sister State Judgment in the Superior Court for the County of Los Angeles. On August 8, 2016,
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                                                   12 the State Court issued a California judgment in the amount of $2,300,184.13 against Castle and
                        Malibu, California 92605




                                                   13 Mr. and Ms. Martinez (the “California Judgment”).
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                          28905 Wight Road




                                                   14          3.      Trial in the State Action had been scheduled to begin on May 14, 2018 (before it

                                                   15 was continued due to the instant bankruptcy cases).

                                                   16          4.      On or about January 16, 2018, Sonya Marie Theriault (“Theriault”) filed a

                                                   17 Chapter 7 petition as Bankruptcy Case No. 2:18-bk-10458-BR.

                                                   18          5.      On or about March 27, 2018, Theriault caused ST Designs LLC (“ST Designs”) to

                                                   19 file a Chapter 7 petition as Bankruptcy Case No. 2:18-bk-13363-BR (formerly

                                                   20 2:18-bk-13363-BR).

                                                   21          6.      On March 28, 2018, I appeared at the previously scheduled hearing to inform the

                                                   22 State Court of the bankruptcy and to request that the court schedule a status conference in a few

                                                   23 months. At that hearing, the judge in the State Action indicated that he had prepared a tentative

                                                   24 ruling prior to being notified of ST Designs’ bankruptcy filing just one day prior to the scheduled

                                                   25 hearing.

                                                   26          7.      On April 2, 2018, the chapter 7 trustee for Theriault’s bankruptcy case filed a report

                                                   27 of no distribution. On April 3, 2018, our office contacted the chapter 7 trustee to request additional

                                                   28 time to conduct discovery and bring relevant motions in the case. The chapter 7 trustee informed

                                                                                                          1
                                                                                       DECLARATION OF KEVIN I. SHENKMAN
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                                                    1 us that he would withdraw the report for a period of 60-days to allow MBC to proceed. The

                                                    2 chapter 7 trustee formally withdrew the report later that same day. [Docket No. 15].

                                                    3          8.      On April 6, 2018, MBC filed its motion to reassign ST Designs’ bankruptcy case

                                                    4 (the “Reassignment Motion”) to this Court. [Docket No. 16] On April 26, 2018, MBC filed a

                                                    5 declaration with the Court to inform it that there was no opposition to the Reassignment Motion.

                                                    6 [Docket No. 20]. Later that day, the courtroom deputy contacted me and informed me that I would

                                                    7 need to file an amended motion with a corrected event number, which would then allow me to

                                                    8 upload a proposed order. The courtroom deputy also requested that I upload a proposed order. I

                                                    9 promptly did so. [Docket No. 22].

                                                   10          9.      On April 30, 2018, an order of discharge was entered through the “automatic

                                                   11 discharge” program. On May 1, 2018, our office contacted the courtroom deputy to inquire about
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                                                   12 the timing discharge. We explained to the deputy that MBC was waiting for entry of the transfer
                        Malibu, California 92605




                                                   13 order to file motions for relief from stay as well as other discovery related motions so that court
                         Phone (310) 457-090
                          28905 Wight Road




                                                   14 resources would be preserved. The deputy informed us that we would need to file a motion with

                                                   15 the Court to explain the events that had occurred and that the Court would review the motion and

                                                   16 provide further instructions. The courtroom deputy also informed us that the transfer order would

                                                   17 likely be entered that day, which it was. [ST Designs, Docket No. 12].

                                                   18          10.     On May 1, 2018, ST Designs’ bankruptcy case was transferred to the Honorable

                                                   19 Barry Russell. The case number remains the same except for the change in the judge’s initials

                                                   20 (2:18-bk-13363-BR).

                                                   21          I declare under penalty of perjury under the laws of the State of California that the

                                                   22 foregoing is true and correct to the best of my knowledge.

                                                   23          Executed on May 8, 2018 at Malibu, California.

                                                   24

                                                   25

                                                   26                               ________________________________________
                                                                                                Kevin I. Shenkman
                                                   27

                                                   28

                                                                                                          2
                                                                                       DECLARATION OF KEVIN I. SHENKMAN
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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

28905 Wight Road, Malibu, CA 90265

A true and correct copy of the foregoing document entitled (specify): __Notice of Motion and Motion to Vacate or Modify
Discharge Order, And/Or Re-Open Case and Vacate Dismissal Order; Declaration Of Kevin I. Shenkman

________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_May 9, 2018_______, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _May 9, 2018______, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

    Hon. Barry Russell
    United Bankruptcy Court - Central District of California
    255 East Temple Street, Suite 1660
    Los Angeles 90012


SEE ATTACHED


                                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


      May 9, 2018                    Kevin I. Shenkman                                               /s/ Kevin I. Shenkman
      Date                            Printed Name                                                   Signature
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
            Case 2:18-bk-10458-BR                      Doc 26 Filed 05/09/18 Entered 05/09/18 03:15:27                                     Desc
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ADDITIONAL SERVICE INFORMATION:

By NEF OR Electronic Mail

    ATTORNEY FOR SONYA THERIAULT                                                  OFFICE OF THE UNITED STATES TRUSTEE:
    Aidan Butler                                                                  United States Trustee (LA)
    3550 Wilshire Blvd Ste 1924                                                   915 Wilshire Blvd., Suite 1850
    Los Angeles, CA 90010-2403                                                    Los Angeles, California 90017

    CHAPTER 7 TRUSTEE (Sonya Theriault)
    Jason M Rund (TR)
    Sheridan & Rund
    840 Apollo Street, Suite 351
    El Segundo, CA 90245


By US Mail

    Hon. Barry Russell
    United Bankruptcy Court - Central District of
    California
    255 East Temple Street, Suite 1660
    Los Angeles 90012




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
